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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 MAYOR AND CITY COUNCIL OF
 BALTIMORE,

                        Plaintiff,
                                                       Case No. 1:19-cv-01672-GLR
                v.

 ALEX M. AZAR II, in his official capacity as
 SECRETARY OF HEALTH AND HUMAN
 SERVICES; and U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES,

                        Defendants.


                                     JOINT STATUS REPORT

       The parties submit this joint status report pursuant to this Court’s January 21, 2020 order,

ECF No. 102. On January 3, 2020, Defendants filed notices of appeal to the United States Court

of Appeals for the Second Circuit of the final judgments in the United States District Court for the

Southern District of New York that vacated the rule that Plaintiff challenges in this case. See

State of New York v. U.S. Dep’t of Health & Human Servs., No. 1:19-cv-4676-PAE, Notice of

Appeal, ECF No. 255 (S.D.N.Y) (New York); Planned Parenthood Fed’n of Am., Inc. v. Azar, No.

1:19-cv-5433-PAE, Notice of Appeal, ECF No. 123 (S.D.N.Y.) (Planned Parenthood); Nat’l

Family Planning & Reproductive Health Ass’n v. Azar, No. 1:19-cv-5435-PAE, Notice of Appeal,

ECF No. 129 (S.D.N.Y) (NFPRHA). Intervenors in the Southern District of New York litigation

have also filed notices of appeal. See New York, Notice of Appeal, ECF No. 254; Planned

Parenthood, Notice of Appeal, ECF No. 122; NFPRHA, Notice of Appeal, ECF No. 128. The

briefing schedule in the Second Circuit anticipates that briefing will be completed by September

7, 2020.

       On January 17, 2020, Defendants filed its notice of appeal to the United States Court of
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Appeals for the Ninth Circuit of the final judgment in the United States District Court for the

Eastern District of Washington vacating the challenged rule on November 21, 2019. Washington

v. Azar, No. 2:19-CV-00183-SAB (E.D. Wash.) (Washington). In addition, the United States

District Court for the Northern District of California has also vacated the challenged rule in three

cases: City & County of San Francisco v. Azar, No. 3:19-cv-2405-WHA (N.D. Cal.) (San

Francisco); California v. Azar, No. 3:19-cv-2769-WHA (N.D. Cal.) (California); County of Santa

Clara v. U.S. Dep’t of Health & Human Servs., No. 3:19-cv-2916-WHA (N.D. Cal.) (Santa Clara).

That court entered a final judgment in San Francisco and Santa Clara on January 8, 2020. The

federal government filed notices of appeal in those cases on March 6, 2020. A final judgment has

not yet been entered in California. Defendants have proposed that the appeals of the Washington,

San Francisco, and Santa Clara cases be consolidated in the Ninth Circuit, and that briefing be

completed in August of 2020.



Dated: April 20, 2020                                Respectfully submitted,

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